 Fill in this information to identify the case:


 United States Bankruptcy Court for the:

  Northern                    District of   CA
                                            (State)
  Case number   (If known):                                        Chapter   11                                                                   Check if this is an
                                                                                                                                                 amended filing




Official Form 201
Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                                                                   04/20
If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor’s name and the case
number (if known). For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is available.




 1.   Debtor’s name                               Sizzler USA, Inc.



 2.   All other names debtor used
                                                 None
      in the last 8 years
      Include any assumed names,
      trade names, and doing business
      as names




 3.   Debtor’s federal Employer                       95–4632165
      Identification Number (EIN)



 4.   Debtor’s address                            Principal place of business                                   Mailing address, if different from principal place
                                                                                                                of business

                                                  23352            Madero Road
                                                  Number            Street                                      Number                 Street

                                                  Suite B
                                                                                                                P.O. Box

                                                  Mission Viejo              CA       92691
                                                  City                        State            ZIP Code         City                  State                ZIP Code


                                                                                                                Location of principal assets, if different from
                                                                                                                principal place of business
                                                  Orange
                                                  County
                                                                                                                Number      Street




                                                                                                                City                     State             ZIP Code




 5.   Debtor’s website (URL)                      Sizzler.com




Official Form 201                                        Voluntary Petition for Non-Individuals Filing for Bankruptcy                                 page 1
          Case: 20-30748                Doc# 1                Filed: 09/21/20            Entered: 09/21/20 11:04:17                   Page 1 of 15
                                                                                                                                 American LegalNet, Inc.
                                                                                                                                 www.FormsWorkFlow.com
Debtor        Sizzler USA, Inc.                                                                 Case number (if known)
              Name



                                              Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))
 6.   Type of debtor
                                              Partnership (excluding LLP)
                                              Other. Specify:


                                          A. Check one:
 7.   Describe debtor’s business
                                              Health Care Business (as defined in 11 U.S.C § 101(27A))
                                              Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                              Railroad (as defined in 11 U.S.C. § 101(44))
                                              Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                              Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                              Clearing Bank (as defined in 11 U.S.C. § 781(3))
                                              None of the above


                                          B. Check all that apply:

                                              Tax-exempt entity (as described in 26 U.S.C. § 501)

                                              Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C.
                                             § 80a-3)
                                              Investment advisor (as defined in 15 U.S.C. § 80b-2(a)(11))


                                          C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor. See
                                             http://www.uscourts.gov/four-digit-national-association-naics-codes .
                                              7225

 8    Under which chapter of the          Check one:
      Bankruptcy Code is the
                                              Chapter 7
      debtor filing?
                                              Chapter 9
                                              Chapter 11. Check all that apply:
      A debtor who is a “small business                           The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D), and its
      debtor” must check the first sub-
                                                                aggregate noncontingent liquidated debts (excluding debts owed to insiders or
      box. A debtor as defined in
                                                                affiliates) are less than $2,725,625. If this sub-box is selected, attach the most
      § 1182(1) who elects to proceed
                                                                recent balance sheet, statement of operations, cash-flow statement, and federal
      under subchapter V of chapter 11
                                                                income tax return or if any of these documents do not exist, follow the procedure in
      (whether or not the debtor is a
                                                                11 U.S.C. § 1116(1)(B).
      “small business debtor”) must
      check the second sub-box.                                   The debtor is a debtor as defined in 11 U.S.C. § 1182(1), its aggregate
                                                                noncontingent liquidated debts (excluding debts owed to insiders or affiliates) are
                                                                less than $7,500,000, and it chooses to proceed under Subchapter V of
                                                                Chapter 11. If this sub-box is selected, attach the most recent balance sheet,
                                                                statement of operations, cash-flow statement, and federal income tax return, or if
                                                                any of these documents do not exist, follow the procedure in 11 U.S.C.
                                                                 § 1116(1)(B).

                                                                 A plan is being filed with this petition.

                                                                 Acceptances of the plan were solicited prepetition from one or more classes of
                                                                creditors, in accordance with 11 U.S.C. § 1126(b).

                                                                  The debtor is required to file periodic reports (for example, 10K and 10Q) with the
                                                                Securities and Exchange Commission according to § 13 or 15(d) of the Securities
                                                                Exchange Act of 1934. File the Attachment to Voluntary Petition for Non-Individuals Filing
                                                                for Bankruptcy under Chapter 11 (Official Form 201A) with this form.

                                                                 The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule
                                                                12b-2.
                                              Chapter 12




 Official Form 201                           Voluntary Petition for Non-Individuals Filing for Bankruptcy                                 page 2

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                                                                                                               Page       2Inc.of 15
                                                                                                                   LegalNet,
                                                                                                          www.FormsWorkFlow.com
Debtor         Sizzler USA, Inc.                                                                    Case number (if known)
                Name



 9.    Were prior bankruptcy cases              No
       filed by or against the debtor
                                                Yes. District                                When                            Case number
       within the last 8 years?
                                                                                                    MM / DD / YYYY
       If more than 2 cases, attach a
       separate list.                                   District                             When                            Case number
                                                                                                    MM / DD / YYYY

 10. Are     any bankruptcy cases               No
       pending or being filed by a
       business partner or an                   Yes. Debtor                                                                  Relationship
       affiliate of the debtor?                         District                                                             When
                                                                                                                                             MM / DD / YYYY
       List all cases. If more than 1,
       attach a separate list.                          Case number, if known


 11. Why    is the case filed in this       Check all that apply:
       district?
                                                 Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days
                                               immediately preceding the date of this petition or for a longer part of such 180 days than in any other
                                               district.

                                                  A bankruptcy case concerning debtor’s affiliate, general partner, or partnership is pending in this district.


 12.   Does the debtor own or have                No
       possession of any real                     Yes. Answer below for each property that needs immediate attention. Attach additional sheets if needed.
       property or personal property
       that needs immediate                            Why does the property need immediate attention? (Check all that apply.)
       attention?
                                                            It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.
                                                           What is the hazard?

                                                            It needs to be physically secured or protected from the weather.

                                                            It includes perishable goods or assets that could quickly deteriorate or lose value without
                                                            attention (for example, livestock, seasonal goods, meat, dairy, produce, or securities-related
                                                            assets or other options).
                                                            Other



                                                       Where is the property?
                                                                                   Number           Street




                                                                                   City                                                     State    ZIP Code


                                                       Is the property insured?

                                                           No

                                                           Yes. Insurance agency

                                                                   Contact name


                                                                   Phone




              Statistical and administrative information




 Official Form 201                             Voluntary Petition for Non-Individuals Filing for Bankruptcy                                              page 3
            Case: 20-30748               Doc# 1        Filed: 09/21/20              Entered: 09/21/20 11:04:17                              Page 3 of 15
                                                                                                                                    American LegalNet, Inc.
                                                                                                                                    www.FormsWorkFlow.com
Debtor        Sizzler USA, Inc.                                                                Case number (if known)
              Name




 13.   Debtor’s estimation of            Check one:
       available funds                       Funds will be available for distribution to unsecured creditors.
                                             After any administrative expenses are paid, no funds will be available for distribution to unsecured creditors.


                                             1-49                               1,000-5,000                                25,001-50,000
 14. Estimated     number of
                                             50-99                              5,001-10,000                               50,001-100,000
       creditors
                                             100-199                            10,001-25,000                              More than 100,000
                                             200-999

                                             $0-$50,000                         $1,000,001-$10 million                     $500,000,001-$1 billion
 15.   Estimated assets
                                             $50,001-$100,000                   $10,000,001-$50 million                    $1,000,000,001-$10 billion
                                             $100,001-$500,000                  $50,000,001-$100 million                   $10,000,000,001-$50 billion
                                             $500,001-$1 million                $100,000,001-$500 million                  More than $50 billion


                                             $0-$50,000                         $1,000,001-$10 million                     $500,000,001-$1 billion
 16.   Estimated liabilities                 $50,001-$100,000                   $10,000,001-$50 million                    $1,000,000,001-$10 billion
                                             $100,001-$500,000                  $50,000,001-$100 million                   $10,000,000,001-$50 billion
                                             $500,001-$1 million                $100,000,001-$500 million                  More than $50 billion




              Request for Relief, Declaration, and Signatures


 WARNING -- Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to
            $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.


 17.   Declaration and signature of          The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in this
       authorized representative of          petition.
       debtor

                                             I have been authorized to file this petition on behalf of the debtor.

                                             I have examined the information in this petition and have a reasonable belief that the information is true and
                                             correct.


                                         I declare under penalty of perjury that the foregoing is true and correct.

                                            Executed on    09/21/2020
                                                          MM / DD / YYYY

                                                                                                     Christopher Perkins
                                            Signature of authorized representative of debtor              Printed name

                                            Title   Chief Services Officer




 Official Form 201                           Voluntary Petition for Non-Individuals Filing for Bankruptcy                                     page 4

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                                                                                                                         American LegalNet, Inc.
                                                                                                                         www.FormsWorkFlow.com
Debtor        Sizzler USA, Inc.                                                       Case number (if known)
              Name




 18.   Signature of attorney          /s/ Ori Katz                                                   Date      09/21/2020
                                       Signature of attorney for debtor                                         MM / DD / YYYY



                                       Ori Katz
                                       Printed name
                                       Sheppard, Mullin, Richter & Hampton, LLP
                                       Firm name
                                       Four Embarcadero Center                                                 17th Floor
                                       Number            Street
                                       San Francisco                                                  CA               94111
                                       City                                                            State           ZIP Code

                                       (415) 774-9100                                                  okatz@sheppardmullin.com
                                       Contact phone                                                   Email address



                                       209561                                                          CA
                                       Bar number                                                       State




 Official Form 201                     Voluntary Petition for Non-Individuals Filing for Bankruptcy                               page 5

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                                                                                                         Page       5Inc.of 15
                                                                                                             LegalNet,
                                                                                                    www.FormsWorkFlow.com
                 OMNIBUS RESOLUTIONS AND WRITTEN CONSENT OF THE
                             BOARD OF DIRECTORS OF:

                              SIZZLER USA ACQUISITION, INC.
                               SIZZLER USA HOLDINGS, INC.
                                SIZZLER USA FINANCE, INC.
                         WORLDWIDE RESTAURANTS CONCEPTS, INC.
                                    SIZZLER USA, INC.
                               SIZZLER USA FRANCHISE, INC.
                            SIZZLER USA REAL PROPERTY, INC.
                             SIZZLER USA RESTAURANTS, INC.

                        AUTHORIZING FILING OF CHAPTER 11 PETITIONS
                                 AND OTHER RESOLUTIONS

       The following constitutes resolutions (the “Resolutions”) adopted by the members of the
Boards of Directors (each referenced in these Resolutions as the “Board”) of Sizzler USA
Acquisition, Inc., Sizzler USA Acquisition, Inc., Sizzler USA Holdings, Inc., Sizzler USA Finance,
Inc., Worldwide Restaurants Concepts, Inc., Sizzler USA, Inc., Sizzler USA Franchise, Inc., Sizzler
USA Real Property, Inc., Sizzler USA Restaurants, Inc., each a Delaware corporation (each a
“Company”), at a meeting of the Board held on September 20, 2020, to take the following actions
under the stockholder agreements, bylaws, articles of incorporation, or operating agreement, as
applicable, of each Company and the laws of Delaware:


        WHEREAS, the Board has considered the financial condition and circumstances of the
Company, including without limitation the assets and liabilities of the Company, the strategic
alternatives available to the Company, and the impact of the foregoing on the Company’s operational
performance;

        WHEREAS, the Board has reviewed, considered and received the recommendations of the
Company’s management and the Company’s professional advisors as to the relative risks and benefits
of a bankruptcy proceeding; and

       WHEREAS, in the judgment of the Board, it is desirable and in the best interests of the
Company, its creditors, stockholders, and other stakeholders, that the Company be authorized and
empowered to file, at such time, if any, as is deemed appropriate by an authorized officer of each
Company, a voluntary petition for relief (each a “Petition”) under chapter 11 (including subchapter
V thereof) of title 11 of the United States Code (the “Bankruptcy Code”) in the United States
Bankruptcy Court for Northern the District of California, San Jose Division (the “Bankruptcy
Court”), for the purpose of initiating a bankruptcy case (each, a “Bankruptcy Case,” and collectively,
the “Bankruptcy Cases”) for each Company and restructuring their financial affairs and for all other
lawful purposes under the Bankruptcy Code.

        NOW THEREFORE, BE IT RESOLVED, that, in the judgment of the Board, it is desirable
and in the best interest of the Company, its creditors, stockholders, other stakeholders, and parties in
interest that the Petitions be filed on behalf of the Company;

SMRH:4829-0025-6458.2                             -1-
 Case: 20-30748          Doc# 1   Filed: 09/21/20       Entered: 09/21/20 11:04:17      Page 6 of 15
        RESOLVED FURTHER, that filing of the Petitions on behalf of the Company be, and the
same hereby are, approved and adopted in all respects and that Christopher M. Perkins, Timothy
Perkins, or any other person designated and so authorized to act (each, an “Authorized Officer” and
collectively, the “Authorized Officers”) acting alone or together, be, and each is hereby authorized,
empowered and directed on behalf of, and in the name of, the Company (i) to execute and verify the
Petitions as well as any other ancillary documents and to cause the Petitions to be filed with the
Bankruptcy Court, and (ii) to perform any and all such acts as are reasonable, advisable, expedient,
convenient, proper or necessary to effect any of the foregoing;

       RESOLVED FURTHER, that in connection with the foregoing, each of the Authorized
Officers, acting alone or together, is hereby designated as the individual with primary and/or sole
responsibility for handling matters in the Bankruptcy Case;

       RESOLVED FURTHER, that each of the Authorized Officers is authorized and empowered,
on behalf of and in the name of the Company to execute, verify and file with the Bankruptcy Court,
or cause to be executed, verified and/or filed with the Bankruptcy Court (or direct others to do so on
his behalf) all necessary documents, including, without limitation, the petitions, schedules, lists,
motions, applications and other papers and documents necessary or desirable in connection with the
Bankruptcy Case and to take any and all other actions deemed necessary, proper, or desirable in
connection with the Bankruptcy Case, with a view to the successful prosecution of each;

        RESOLVED FURTHER, that each of the Authorized Officers is authorized and empowered,
on behalf of and in the name of the Company to execute that certain Postpetition Promissory Note
and Security Agreement (the “DIP Financing Agreement”) and to grant any guarantees, pledges and
other security interests as necessary to obtain use of financing thereunder;

        RESOLVED FURTHER, that each of the Authorized Officers is authorized and empowered
to retain on behalf of the Company, the law firm of Sheppard, Mullin, Richter & Hampton LLP as
bankruptcy counsel, to render legal services to, and to represent the Company in connection with such
proceedings and all other related matters in connection therewith, on such terms as the person
retaining such firm shall approve;

       RESOLVED FURTHER, that each of the Authorized Officers is authorized and empowered
on behalf of, and in the name of, the Company to continue the employment and retention of
professionals in the ordinary course and in the Bankruptcy Case to retain and employ other attorneys,
accountants, and other professionals, including conflicts counsel, to assist in the Company’s
Bankruptcy Case on such terms as are deemed necessary, proper, or desirable;

       RESOLVED FURTHER, that the Company will obtain benefits from the use of collateral,
including cash collateral, as that term is defined in section 363(a) of the Bankruptcy Code (the “Cash
Collateral”), which is security for Kevin Perkins (the “Prepetition Lender”);

       RESOLVED FURTHER, that in order to use and obtain the benefits of the Cash Collateral,
and in accordance with section 363 of the Bankruptcy Code, the Company will provide certain
adequate protection to the Prepetition Lender (the “Adequate Protection Obligations”), as
documented in a proposed interim order (the “Interim Cash Collateral Order”) and submitted for
approval to the Bankruptcy Court;


SMRH:4829-0025-6458.2                            -2-
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                                               Director of Perkins US Financial
                                               Services Pty Ltd, trustee for the
                                               KPUS Trust




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                            UNITED STATES BANKRUPTCY COURT
                                 NORTHERN DISTRICT OF CALIFORNIA


     In re       Sizzler USA, Inc.                                         Case No.
                              Debtor(s)                                    Chapter       11




                   CORPORATE OWNERSHIP STATEMENT (RULE 7007.1)

       Pursuant to Federal Rule of Bankruptcy Procedure 7007.1 and to enable the Judges to
evaluate possible disqualification or recusal, the undersigned authorized officer for the above-
captioned debtor, certifies that the following is a (are) corporation(s), other than the debtor or a
governmental unit, that directly or indirectly own(s) 10% or more of any class of the
corporation’s(s’) equity interests, or states that there are no entities to report under FRBP 7007.1:


   Worldwide Restaurant Concepts, Inc., a Delaware corporation




          None [Check if applicable]




   Date        September 21, 2020                      Signature
                                                                   Name: Christopher Perkins
                                                                   Title: President & Chief
                                                                   Services Officer




SMRH:4812-9451-8986.1                              -1-
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                         UNITED STATES BANKRUPTCY COURT
                            NORTHERN DISTRICT OF CALIFORNIA

      In re       Sizzler USA, Inc.                                   Case No.     20-
                                 Debtor(s)                            Chapter      11




                                 LIST OF EQUITY HOLDERS

        Pursuant to Rule 1007 of the Federal Rules of Bankruptcy Procedure, the following is the
list of the equity security holders of the above-captioned debtor in possession as of the date
hereof.


Name and Last Known Address of               Percentage of Interest       Type of Equity Interest
     Equity Interest Holder
Worldwide Restaurant Concepts, Inc.                    100%                        Stock




      Date        September 21, 2020            Signature
                                                            Name: Christopher Perkins
                                                            Title: President and Chief Services
                                                                   Officer




SMRH:4831-3270-9324.1                            -1-
091920
 Case: 20-30748         Doc# 1   Filed: 09/21/20 Entered: 09/21/20 11:04:17          Page 10 of
                                               15
       Fill in this information to identify the case:

       Debtor name   Sizzler USA, Inc.
       United States Bankruptcy Court for the:   Northern                District of   CA
                                                                                       (State)
                                                                                                                                                    Check if this is an
       Case number (If known):                                                                                                                      amended filing




    Official Form 204
    Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured
    Claims and Are Not Insiders                                                                                                                                   12/15

    A list of creditors holding the 20 largest unsecured claims must be filed in a Chapter 11 or Chapter 9 case. Include claims w hich the debtor
    disputes. Do not include claims by any person or entity who is an insider, as defined in 11 U.S.C. § 101(31). Also, do not include claims by
    secured creditors, unless the unsecured claim resulting from inadequate collateral value places the creditor among the holders of the 20
    largest unsecured claims.


     Name of creditor and complete                Name, telephone number, and     Nature of the claim   Indicate if     Amount of unsecured claim
     mailing address, including zip code          email address of creditor       (for example, trade   claim is        If the claim is fully unsecured, fill in only unsecured
                                                  contact                         debts, bank loans,    contingent,     claim amount. If claim is partially secured, fill in
                                                                                  professional          unliquidated,   total claim amount and deduction for value of
                                                                                  services, and         or disputed     collateral or setoff to calculate unsecured claim.
                                                                                  government
                                                                                  contracts)
                                                                                                                        Total claim, if    Deduction for       Unsecured
                                                                                                                        partially          value of            claim
                                                                                                                        secured            collateral or
                                                                                                                                           setoff
     Canon Financial Services,
     Inc.
                                                                                   Equipment
1    14904 Collections Center                                                                                                                                    5,535.97
                                                                                   Lease
     Drive
     Chicago, IL 60693-0149
     Mirus Information Technology
     S
                                                                                   Professional
2    820 Gessner Road                                                                                                                                            3,156.00
                                                                                   Services
     Suite 1600
     Houston, TX 77024
     Profit Concepts International
     2785 Pacific Coast Highway                                                    Professional
3                                                                                                                                                                2,887.50
     Suite E-140                                                                   Services
     Torrance, CA 90505
     Cort Business Services
                                                                                   Furniture
4    P.O. Box17401                                                                                                                                               1,283.29
                                                                                   Rental
     Baltimore, MD 21297-1401
     Staples Business Advantage
5    P.O. Box 660409                                                               Office Supplies                                                               1,026.53
     Dallas, TX 75266-0409
     Federal Express
                                                                                   Professional
6    P.O. Box 7221                                                                                                                                                  993.69
                                                                                   Services
     Pasadena, CA 91109-7321

     NDS
                                                                                   Professional
7    P.O. Box 61002                                                                                                                                                 683.28
                                                                                   Services
     Anaheim, CA 92803-4836


    Official Form 204             Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims                                       page 1

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                                                                                                                                           American     of Inc.
                                                                                                                                                    LegalNet,
                                                                                                                                           www.FormsWorkFlow.com
                                                                           15
     Property Works
                                                                  Professional
8    720 Church Street                                                                                                               540.00
                                                                  Services
     Decatur, GA 30030




    Official Form 204    Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims                 page 1

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                                                                                                                 American     of Inc.
                                                                                                                          LegalNet,
                                                                                                                 www.FormsWorkFlow.com
                                                              15
     Debtor       Sizzler USA, Inc.                                                         Case number (if known)
                  Name



      Name of creditor and complete         Name, telephone number, and   Nature of the claim   Indicate if     Amount of unsecured claim
      mailing address, including zip code   email address of creditor     (for example, trade   claim is        If the claim is fully unsecured, fill in only unsecured
                                            contact                       debts, bank loans,    contingent,     claim amount. If claim is partially secured, fill in
                                                                          professional          unliquidated,   total claim amount and deduction for value of
                                                                          services, and         or disputed     collateral or setoff to calculate unsecured claim.
                                                                          government
                                                                          contracts)
                                                                                                                Total claim, if    Deduction for       Unsecured
                                                                                                                partially          value of            claim
                                                                                                                secured            collateral or
                                                                                                                                   setoff

      American Stock & Transfer &
      Trust
9                                                                         Bank                                                                              498.55
      P.O. Box 12893
      Philadelphia, PA 19176-0893
      INKGUY USA
                                                                          Professional
10    975 S. Vermont Ave. #203                                                                                                                              465.33
                                                                          Services
      Los Angeles, CA 90006

      Verizon
                                                                          Professional
11    P.O. Box660108                                                                                                                                        436.25
                                                                          Services
      Dallas, TX 75266-0108

      Carlos Austin
                                                                          Professional
12    575 E. Afton Lane                                                                                                                                     204.00
                                                                          Services
      Anaheim, CA 92805
      Best Tec
      73850 Dinah Shore Drive
                                                                          Professional
13    Unit 111                                                                                                                                              110.00
                                                                          Services
      Palm Desert, CA 92211

                                            Grace Horoupian
      Fisher & Phillips LLP
                                            (949) 798-2145
      P.O. Box 301018                                                 Professional
14                                          ghoroupian@fisherphillips                                                                                         65.00
      Losn Angeles, CA 90030-                                         Services
                                            .com
      1018

      The Shredders
                                                                          Professional
15    P.O. Box 91-1197                                                                                                                                        39.00
                                                                          Services
      Los Angles, CA 90091


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17




18




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     Official Form 204          Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims                                 page 2

                Case: 20-30748              Doc# 1     Filed: 09/21/20 Entered: 09/21/20 11:04:17                                 Page    13
                                                                                                                                   American     of Inc.
                                                                                                                                            LegalNet,
                                                                                                                                   www.FormsWorkFlow.com
                                                                     15
20




     Official Form 204   Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims                 page 2

                Case: 20-30748     Doc# 1       Filed: 09/21/20 Entered: 09/21/20 11:04:17                      Page    14
                                                                                                                 American     of Inc.
                                                                                                                          LegalNet,
                                                                                                                 www.FormsWorkFlow.com
                                                              15
 Fill in this information to identify the case and this filing:


             Sizzler USA, Inc.
 Debtor Name __________________________________________________________________

                                         Northern
 United States Bankruptcy Court for the: ______________________             CA
                                                                District of __________
                                                                               (State)
 Case number (If known):    _________________________




Official Form 202
Declaration Under Penalty of Perjury for Non-Individual Debtors                                                                                       12/15

An individual who is authorized to act on behalf of a non-individual debtor, such as a corporation or partnership, must sign and submit
this form for the schedules of assets and liabilities, any other document that requires a declaration that is not included in the document,
and any amendments of those documents. This form must state the individual’s position or relationship to the debtor, the identity of the
document, and the date. Bankruptcy Rules 1008 and 9011.

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341,
1519, and 3571.



            Declaration and signature



         I am the president, another officer, or an authorized agent of the corporation; a member or an authorized agent of the partnership; or
         another individual serving as a representative of the debtor in this case.

         I have examined the information in the documents checked below and I have a reasonable belief that the information is true and correct:


             Schedule A/B: Assets–Real and Personal Property (Official Form 206A/B)

             Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)

             Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)

             Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G)

             Schedule H: Codebtors (Official Form 206H)

             Summary of Assets and Liabilities for Non-Individuals (Official Form 206Sum)

             Amended Schedule ____


         
         X    Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and Are Not Insiders (Official Form 204)


         
         X                                              Master Mailing Matrix
              Other document that requires a declaration__________________________________________________________________________________




        I declare under penalty of perjury that the foregoing is true and correct.


                    09/21/2020
        Executed on ______________                            _________________________________________________________________________
                           MM / DD / YYYY                       Signature of individual signing on behalf of debtor



                                                                Christopher Perkins
                                                                ________________________________________________________________________
                                                                Printed name

                                                                Chief Services Officer
                                                                ______________________________________
                                                                Position or relationship to debtor



Official Form 202                            Declaration Under Penalty of Perjury for Non-Individual Debtors
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